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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

  IN RE:
                                                                Case No. 15-41732
  INTERPHASE CORPORATION                                        Chapter 7

                                       Debtor

                        MOTION TO APPROVE EQUITY DISTRIBUTION
                           AND ESTATE CLOSING PROCEDURES

YOUR RIGHTS MAY BE AFFECTED BY THE RELIEF SOUGHT IN THIS PLEADING. YOU SHOULD READ THIS PLEADING
CAREFULLY AND DISCUSS IT WITH YOUR ATTORNEY, IF YOU HAVE ONE IN THIS BANKRUPTCY CASE. IF YOU OPPOSE
THE RELIEF SOUGHT BY THIS PLEADING, YOU MUST FILE A WRITTEN OBJECTION, EXPLAINING THE FACTUAL
AND/OR LEGAL BASIS FOR OPPOSING THE RELIEF.

NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A WRITTEN OBJECTION IS FILED WITH THE CLERK OF
THE UNITED STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY FILING THIS PLEADING WITHIN
TWENTY-ONE (21) DAYS FROM THE DATE OF SERVICE SHOWN IN THE CERTIFICATE OF SERVICE UNLESS
THE COURT SHORTENS OR EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO OBJECTION IS TIMELY SERVED
AND FILED, THIS PLEADING SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN ORDER
GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
THEREAFTER SET A HEARING WITH APPROPRIATE NOTICE. IF YOU FAIL TO APPEAR AT THE HEARING, YOUR
OBJECTION MAY BE STRICKEN. THE COURT RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.


        Mark A. Weisbart, Chapter 7 Trustee (“Trustee”) in the above-referenced bankruptcy case,

files this Motion to Approve Equity Distribution and Estate Closing Procedures, pursuant to

Sections 105(a) and 726 of the Bankruptcy Code, seeking approval of procedures with regard to

the distribution of estate funds to equity holders of Interphase Corporation. In support of this relief,

Trustee would respectfully show the Court as follows:

                                                   I. JURISDICTION

        1.       This Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334. This

matter involves a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (B). Venue is proper

before this Court pursuant to 28 U.S.C. §§ 1408 and 1409. The relief requested in this motion is

authorized pursuant to 11 U.S.C. §§ 105(a) and 726.




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                            II. PROCEDURAL AND FACTUAL BACKGROUND

        2.       On September 30, 2015 (the “Petition Date”), Interphase Corporation (the “Debtor”

or “Interphase”) filed a voluntary petition under Chapter 7 of Title 11 of the United States Code

(the “Bankruptcy Code”) commencing the above-referenced bankruptcy case.

        3.       Mark A. Weisbart was thereafter appointed the interim Chapter 7 Trustee, and has

continued in the capacity as trustee since the meeting of creditors.

        4.       Prior to commencing the filing of this bankruptcy case Interphase was an

information and communications technology company providing embedded computing solutions,

engineering design services, and contract manufacturing services in North America, the Pacific

Rim and Europe.

        5.       Trustee has completed the liquidation of the Debtor’s assets. As the proceeds

exceed the allowed filed claims this will be a surplus estate, resulting in a distribution to equity

holders.

        6.       At the time it ceased operations and filed this case, Interphase was a publicly traded

company whose common stock traded on the NASDAQ Stock Market under ticker symbol

NASDAQ: INPH. Upon information and belief, on or about October 12, 2015 (the “Delisting

Date”), Interphase’s common stock was delisted from NASDAQ due to the commencement of this

case. Upon further information and belief, there are 8,393,981 outstanding common shares (the

“Common Shares”).

        7.       The Debtor’s transfer agent until shortly after the commencement of this case was

Computershare Investor Services (“Computershare”). Since the Petition Date, however, the

Common Shares have continued to trade on the over-the-counter market, the pink sheets, under




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ticker symbol INPHQ:PK (the “OTC Trading”). 1

        8.       Due to the uniqueness and complexity of the matter, the Trustee sought and

obtained, by order entered on April 25, 2017 [Doc. No. 161], approval to engage The Garden City

Group, LLC (“GCG”) to assist in the process of distributions to equity holders. 2 GCG has

confirmed (i) the number of outstanding Common Shares for distribution purposes, and (ii) that

there exists forty (40) individual registered holders (the “Holders”) of the shares (the “Holder

Shares”) with all other shares held in street name through DTCC (The Depository Trust and

Clearing Corporation) (the “DTCC Shares”). 3

        9.       Having completed the liquidation of the estate’s assets following approval of all

professional fee applications, Trustee is prepared to submit a final report and promptly close the

case. However, the regular and customary closure procedures for chapter 7 estates are inadequate

to address the complexities of making a distribution to equity holders given that the Common

Shares remain subject of continuing public OTC Trading.

        10.      While Trustee, through GCG, can identify the Holders directly or in street name as

of September 30, 2015, there is no information with respect to those beneficial owners of the shares

held by brokerage firms or those who since the Petition Date acquired, and who continue to

acquire, shares of Interphase’s common stock through OTC Trading.

        11.      For purposes of providing notice of stock distributions or redemptions to equity

holders and other interested parties, it’s the customary practice within the securities industry for


        1
         Financial websites have indicated that the Common Shares have average volume of trading of
16,482. Due to the OTC Trading, the beneficial owners of the shares traded are not readily ascertainable.

        2
          Per this order, Trustee was authorized to pay GCG fees and expenses up to $10,000. Concurrently
herewith, Trustee is filing a motion to modify terms of GCG’s employment to provide up to $15,000 in fees
and expenses.

        3
          There remain “reserve accounts” c/o Computershare, but upon information and belief, the shares
contained in these accounts while outstanding have not been issued.

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the issuer to request from FINRA (Financial Industry Regulatory Authority) issuance of a notice

establishing a record date for such events (the “Record Date”). The fee to establish such record

date and afford no less than ten days’ notice is $299.00 (the “FINRA Fee”).

        12.      In the Trustee’s business judgment there is a need to obtain a Record Date through

FINRA for purposes of establishing shareholders’ rights in the distribution of the estate’s surplus.

        13.      In order to best achieve distribution of the estate’s surplus and the prompt closure

of the estate, the Trustee seeks authority to implement the following procedures:

        (i)      Trustee shall submit his Trustee’s Final Report (the “TFR”) to the Office of the
                 United States Trustee after approval of this Motion and these procedures and within
                 fourteen (14) days of an orders approving the final professional fee applications.

        (ii)     In the TFR, Trustee shall (A) identify the projected surplus for distribution for
                 which the Trustee shall request a Record Date from FINRA that is anticipated to be
                 within thirty (30) days after the Court’s approval of the TFR; (B) include payment
                 of the GCG Fee and the FINRA Fee as costs of administration; (C) allocate for
                 distribution purposes the surplus to the Common Shares, and (D) identify GCG as
                 the recipient of the surplus distribution.

        (iii)    Upon approval of the TFR, Trustee shall be authorized to (A) request from FINRA
                 a Record Date for distribution of the surplus to beneficial owners of the DTCC
                 Shares that is within thirty (30) days of such approval; (B) pay the GCG Fee and
                 the FINRA Fee; and (C) make a full distribution of the surplus to GCG for
                 disbursement by GCG to holders of the Holder Shares as of September 30, 2015,
                 and DTCC as record holder of the DTCC Shares, for distribution by DTCC to the
                 beneficial owners of such shares as of the Record Date and as reflected in its
                 records.

        (iv)     Upon approval of the TFR, (i) GCG, upon receipt of the surplus from the Trustee,
                 shall be authorized, on behalf of the bankruptcy estate, to disburse the surplus on a
                 pro rata basis to holders of the Holder Shares as of the September 30, 2015, and to
                 DTCC as custodian for the beneficial owners of the DTCC Shares as of the Record
                 Date, and (ii) DTCC, upon receipt of funds from GCG, shall be authorized to
                 disburse such funds to the beneficial owners of the DTCC Shares as of the Record
                 Date and as reflected in its records;

        (v)      In the event any disbursements made by GCG to holders of the Holder Shares are
                 returned to GCG as undeliverable or unclaimed, GCG shall, no earlier than ninety
                 (90) days after such initial disbursement, remit all such returned and unclaimed
                 funds to the Trustee;



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        (vi)     With respect to all returned and unclaimed funds remitted by GCG, Trustee shall
                 deposit such funds into the registry of the Court as unclaimed funds in accordance
                 with Section 347 of the Bankruptcy Code (the “Deposit”).

        (vii)    In the event that any funds are returned to DTCC as undeliverable or go unclaimed,
                 DTCC shall be authorized to remit such funds to the appropriate state agencies as
                 unclaimed funds under applicable state law;

        (viii) Following the Deposit, Trustee shall submit to the United States Trustee his Final
               Account and Distribution Report Certification that the Estate Has Been Fully
               Administered and Application to Be Discharged in accordance with Fed.R.Bankr.P.
               5009(a) (the “TDR”) evidencing the Trustee’s full administration of the estate for
               purposes of Section 350(a) of the Bankruptcy Code; and

        (ix)     Upon entry of an order discharging the Trustee, the Clerk of the Court shall close
                 the bankruptcy case.

                                            III. RELIEF REQUESTED

        14.      Section 105(a) of the Bankruptcy Code, “[t]he court may issue any order … that is

necessary or appropriate to carry out the provisions of [title 11].” Section 726(a)(6) provides that

any surplus of the estate be distributed to “the debtor.” In this instance the Debtor is a shell of

itself. Each of its officers and directors resigned effective as of the Petition Date; thus, there is no

person to whom to make any such distribution. As a consequence, there is no “debtor” for purposes

of distributing the surplus. While this provision is straightforward in the case of an individual

debtor, it is superfluous in a case of a publicly traded company where there is no one “manning

the bridge.” Clearly, the intent of Section 726(a)(6), at least in a business case, is to provide, in

the extraordinary event that the estate exceeds the aggregate expenses of administration and claims

as set forth in Section 726(a)(1)-(5), the equity holders of the debtor with the benefits of any such

surplus.

        15.      Section 704(a) requires that a trustee “close [an] estate as expeditiously as is

compatible with the best interests of parties in interest,” and “make a final report and file a final

account of the administration of the estate with the court and with the United States trustee.” 11



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U.S.C. §§ 704(a)(1) and (9).

        16.      The Trustee believes that given the uniqueness of this case the procedures outlined

above for the distribution of the surplus to equity holders are consistent with his duties and these

requirements, and the intention of Section 726. The distribution procedure is also consistent with

the normal and customary procedures employed in the securities industry for facilitating the

distributions to or redemptions from equity holders of publicly traded companies.

        17.      The Trustee believes this process serves the best interest of all parties in interest

and ensures closure in an expeditious and orderly fashion.

                                                     V. SERVICE

        18.      Service of this Motion has been made in accordance with the Court’s Order

Granting Application to Limit Notice of Pleadings Pursuant to Fed.R.Bank.P 2002(h) and 9007.

Trustee requests the Court find that such notice is appropriate and sufficient.

                                                     VI. PRAYER

        WHEREFORE, the Trustee respectfully requests that the Court (i) approve the

disbursement and closing procedures outlined above, (ii) authorize the Trustee to submit his final

report in a manner consistent with the foregoing procedures, (iii) authorize the Trustee, GCG and

DTCC to make the distributions of the estate’s surplus in the manner outlined above, and (iv) the

Trustee such other and further relief as this Court deems just and proper.




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                                                        Respectfully Submitted,

                                                        /s/ Mark A. Weisbart
                                                        Mark A. Weisbart
                                                        Texas Bar No. 21102650
                                                        THE LAW OFFICE OF MARK A. WEISBART
                                                        12770 Coit Road, Suite 541
                                                        Dallas, Texas 75251
                                                        (972) 628-4903 Phone
                                                        mark@weisbartlaw.net

                                                        COUNSEL FOR CHAPTER 7 TRUSTEE



                                       CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing instrument was served on the
attached mailing list either through the Court’s electronic notification system as permitted by
Appendix 5005 III. E. To the Local Rules of the U.S. Bankruptcy Court for the Eastern District of
Texas, or by first class United States Mail, postage prepaid on this the 9th day of January, 2018.

                                                                 /s/ Mark A. Weisbart
                                                                 Mark A. Weisbart




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Label Matrix for local noticing                      Alcatel-Lucent International                          Anydata Corporation
0540-4                                               William Hagerman                                      5 Oldfield
Case 15-41732                                        1960 Lucent Lane                                      Irvine, CA 92618-2840
Eastern District of Texas                            Napeville, IL 60563-1594
Sherman
Tue Jan 9 11:26:47 CST 2018
Arrow Electronics Inc.                               Avnet, Inc.                                           B.E. Capital Management Fund LP
c/o NAC Risk Recovery                                5400 Prairie Stone Pkwy                               228 Park Avenue S #63787
9201 E. Dry Creek Road                               Hoffman Estates, IL 60192-3721                        New York, NY 10003-1502
Englewood, Co 80112-2818


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Suite 3000                                           P O Box 2952                                          10 Mupac Drive
Dallas, TX 75201-4757                                Sacramento, CA 95812-2952                             Brockton, MS 02301-5548


Shawn M. Christianson                                City of Carrollton                                    Comptroller of Public Accounts
Buchalter, A Professional Corporation                c/o Laurie Spindler Huffman                           c/o Office of the Attorney General
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                                                                                                           ( 78711-2548
Computershare Trust Co. Inc.                         Denton County                                         Department Of Health and Human Services
100 University Ave, 8th Fl.                          c/o Lee Gordon                                        Jeffrey Grant
Toroonto, ON Msj241                                  P.O. Box 1269                                         7500 Security Blvd, Mail Stop WV-22-75
                                                     Round Rock, Texas 78680-1269                          Baltimore, MD 21244-1849


Digi-Key Corporation                                 Ernst And Young Societe D’Avocoats                    FedEx TechConnect, Inc.
PO Box 677                                           Tour First-TSA 14444                                  Attn: Revenue Recovery/Bankruptcy
Thief River Falls, MN 56701-0677                     Paris-La Defense, FR 92037                            3965 Airways Blvd. Module G.,3rd Floor
                                                                                                           Memphis,TN 38116-5017


Finnish Tax Administration                           Future Electronics                                    GECITS - Bankruptcy
Collection and Recovery Unit of                      c/o Diane Svendsen                                    P O Box 13708
Southern Finland                                     41 Main St.                                           Macon, GA 31208-3708
P.O. Box 6002                                        Bolton, MA 01740-1134
FI-0052-Vero Finland

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Grapevine, Texas 76092
Email: cpenninck@gchub.com
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Illinois Secretary of State                          Internal Revenue Service                              Interphase Corporation
Dept of Business Services                            P.O. Box 7346                                         4240 International Pkwy
350 Howlett Building                                 Philadelphia, PA 19101-7346                           Suite 105
Springfield, IL 62756-0001                                                                                 Carrollton, TX 75007-1985


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Level 3 Communications(Legal Dept. Bky)               Marlin Business Bank                                 Massachusetts  Department of Revenue
1025 Eldorado Blvd                                    300 Fellowship Rd.                                   Bankruptcy Unit
Broomfield Co 80021-8869                              Mt. Laurel, NJ 08054-1201                            P. O. Box 9564
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                                                      c/o Donald Ludman, Esq                               Dallas, TX 75205-4210
                                                      Woodbury, NJ 08096-4635

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TTI, Inc.                                             US Trustee                                           Uusimaa ELY Centre
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                                                      Suite 300
                                                      Tyler, TX 75702-7231

VL Capital Management LLC                             Washington State Department                          Mark A. Weisbart
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Yoram Solomon
2700 Big Creek Ct.
Plano, TX 75093-3362




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Lee Gordon
McCreary Veselka Bragg & Allen, PC
PO Box 1269
Round Rock, TX 78665




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
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(d)Mark A. Weisbart                                  (d)Mark A. Weisbart                                   End of Label Matrix
The Law Office of Mark A. Weisbart                   The Law Office of Mark A. Weisbart                    Mailable recipients     48
12770 Coit Road, Suite 541                           12770 Coit Road, Suite 541                            Bypassed recipients      2
Dallas, TX 75251-1366                                Dallas, TX 75251-1366                                 Total                   50
